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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA
                                                             CRIMINAL ACTION
                                                             NO. 04-10004-PBS
               v.

 ESSAM MOHAMMED ALMOHANDIS




                                 JUDGMENT OF ACQUITTAL




       The Defendant was found not guilty on February 27, 2004. IT IS ORDERED that the
Defendant is acquitted on all counts in the Indictment, discharged, and any bond exonerated.




                                                      __/s/ Patti B. Saris
                                                      Signature of Judicial Officer

                                                      The Honorable Patti B. Saris
                                                      Judge, United States District Court
                                                      Name and Title of Judicial Officer

                                                             3/3/04
                                                      Date
